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   D.A.R.E. AMERICA
 7
 8                            UNITED STATES DISTRICT COURT
 9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 D.A.R.E. AMERICA,                         CASE NO.
12                   Plaintiff,              COMPLAINT
13              v.
14 LIFE SKILLS EDUCATION                     [DEMAND FOR JURY TRIAL]
   CHARITY,
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             Defendant.
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 1              Plaintiff D.A.R.E. America (“D.A.R.E.” or “Plaintiff”) alleges against
 2 Defendant Life Skills Education Charity (“LSE” or “Defendant”) as follows:
 3 I.           INTRODUCTION
 4              1.    Plaintiff D.A.R.E. is the provider of the Drug Abuse Resistance
 5 Education (D.A.R.E.) program—the most comprehensive drug prevention curricula
 6 in the world. The program is taught in thousands of schools in the United States and
 7 in over fifty countries.
 8              2.    Defendant LSE has been the provider of the D.A.R.E. program in the
 9 United Kingdom. LSE has operated under a license (the “License”) from D.A.R.E.
10 to use certain D.A.R.E. trademarks and copyrighted D.A.R.E. course materials (the
11 “Intellectual Property”) in connection with its operations.
12              3.    Recently, D.A.R.E. advised LSE that it was not in compliance with
13 D.A.R.E.’s standards, policies and procedures and requested that LSE make changes
14 to conform to the high standards expected of providers of the D.A.R.E. program.
15 Unfortunately, Defendant refused to cooperate.
16              4.    As a result, D.A.R.E. has been forced to terminate the License and
17 pursue this action to ensure that Defendant does not continue to improperly use the
18 D.A.R.E. Intellectual Property. Notice of the termination of LSE’s license is being
19 provided to Defendant concurrently with service of this Complaint.
20              5.    By this action, D.A.R.E. seeks a declaration that the License to LSE has
21 terminated and, therefore, LSE has no further right to use the Intellectual Property.
22 If LSE does not cease all use of D.A.R.E.’s Intellectual Property, D.A.R.E. will
23 amend this Complaint to add claims for infringement and seek damages.
24 II.          PARTIES
25              6.    Plaintiff D.A.R.E. is a California non-profit corporation based in Los
26 Angeles, California.
27              7.    Defendant Life Skills Education is a United Kingdom Private Limited
28 Company based in Nottingham, United Kingdom.
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 1 III.         JURISDICTION AND VENUE
 2              8.    This Court has jurisdiction over this action pursuant to 28 U.S.C.
 3 § 1332. This controversy is between a citizen of California, D.A.R.E., and a citizen
 4 of the United Kingdom, LSE. The amount in controversy exceeds $75,000. In
 5 particular, the value of the license for use of the Intellectual Property in the United
 6 Kingdom is substantial, exceeding $75,000. Venue is proper in this district pursuant
 7 to 28 U.S.C. § 1391(b)(3).
 8              9.    This court has jurisdiction over LSE because, among other things, LSE
 9 entered into the License with D.A.R.E., a California entity, and has had repeated
10 communications with, and directly reached out to, D.A.R.E. and its California-based
11 personnel in the negotiation of the License and in the course of D.A.R.E.’s oversight
12 of LSE under the License.
13 IV.          FACTS
14              A.    The D.A.R.E. Program and Intellectual Property
15              10.   The D.A.R.E. program was founded in 1983 by the Los Angeles Police
16 Department to prevent the use of controlled substances and violence through
17 childhood education. It was the first program of its kind. D.A.R.E. is unique
18 because since its inception, the program has been based upon the principle that only
19 an active or retired law enforcement officer would teach the curriculum. Delivery of
20 the curricula by a law enforcement officer is a critical component and distinguishes
21 D.A.R.E. from other prevention education programs.
22              11.   The D.A.R.E. curricula is also a key aspect of the program. Since the
23 program’s founding, the D.A.R.E. curriculum has been continuously updated and
24 improved. In 2009, D.A.R.E. introduced Keepin’ it REAL, an evidence-based drug
25 use and violence prevention curriculum developed in partnership with Pennsylvania
26 State University. Keepin’ it REAL has been successfully implemented across the
27 United States and around the world.
28              12.   D.A.R.E.-affiliated programs across the country and around the world
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 1 must follow D.A.R.E.’s principles, policies, procedures and requirements to ensure
 2 program quality and fidelity, preserve curricula licensing agreements and protect
 3 D.A.R.E.’s Intellectual Property. This includes, among other things, ensuring the
 4 program is taught by law enforcement officers, who are properly trained to do so,
 5 and staying true to the content of the D.A.R.E.-approved curricula.
 6              13.    D.A.R.E. owns valuable copyright and other rights in the course and
 7 training materials used to administer the D.A.R.E. program. D.A.R.E. is also the
 8 registered owner of trademarks in the United States and around the world that are
 9 associated with and designate D.A.R.E.’s high-quality drug use and violence
10 prevention programs. These trademarks include:
11                i.   U.S. Patent and Trademark Office Registration Nos. 1965136,
12                     1528819, 1528818, 1528821, 2423113, 1761754, 2063952, 2975163,
13                     2468945, 2491872, 1821747, 3879058, 5386780, 5922691, 6025242,
14                     6054796, and 87596848;
15               ii.   World Intellectual Property Organisation International Registration
16                     Nos. 1371141 and 1465345;
17              iii.   UK Intellectual Property Office Registration Nos. 2118970,
18                     801371141, and 801465345; and
19              iv.    European Union Intellectual Property Office Registration No. 1055821.
20              14.    The foregoing Intellectual Property has substantial value, including for
21 purposes of fundraising and obtaining contracts with schools for the provision of
22 drug and violence prevention programs.
23              B.     D.A.R.E. In The United Kingdom
24              15.    The D.A.R.E. program was originally introduced to the United
25 Kingdom through a partnership with the Nottinghamshire Police. Subsequently,
26 responsibility for the administration of the program in the United Kingdom
27 transitioned to LSE, operating under the supervision of D.A.R.E.
28              16.    LSE operates under the License, which consists of an implied license
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 1 from D.A.R.E. to LSE for the use of certain of the Intellectual Property in
 2 connection with LSE’s administration of the D.A.R.E. program in the United
 3 Kingdom. LSE’s administration of the D.A.R.E. program and use of the Intellectual
 4 Property is subject to D.A.R.E.’s supervision and direction. The License is
 5 terminable at will.
 6              17.   On July 13th, 2020, D.A.R.E.’s President and CEO, Frank Pegueros,
 7 informed LSE by letter of certain deficiencies in LSE’s implementation of the
 8 D.A.R.E. program. Mr. Pegueros requested that LSE come into compliance with
 9 D.A.R.E.’s standards, policies and procedures.
10              18.   Defendant is using the D.A.R.E. brand and Intellectual Property in an
11 unauthorized manner. For example, a majority of Defendant’s supposed D.A.R.E.
12 instructors are not law enforcement officers and have not undergone the requisite
13 two-week, 80-hour D.A.R.E Officer Training program. In addition, Defendant has
14 made unilateral and unapproved modifications to the D.A.R.E. curricula. By using
15 the D.A.R.E. name in connection with the improper presentation of the D.A.R.E.
16 program, Defendant is infringing D.A.R.E.’s Intellectual Property.
17              19.   On August 14, 2020, LSE’s President, Peter Moyes, wrote back to
18 D.A.R.E.’s headquarters in Los Angeles. Rather than work with D.A.R.E. to come
19 into compliance, Mr. Moyes attempted to defend LSE’s non-conformance with
20 D.A.R.E. program standards and refused to cooperate in correcting the deficiencies
21 identified by Mr. Pegueros.
22              20.   As a result, concurrently with service of this action, notice is being sent
23 to LSE terminating the License. A copy of the notice is attached as Exhibit A.
24              21.   As set forth in the notice, LSE has thirty days to cease all use of the
25 Intellectual Property. If LSE fails to do so, D.A.R.E. intends to amend this
26 Complaint to allege claims for infringement and seek damages and other appropriate
27 relief.
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 1                                  FIRST CAUSE OF ACTION
 2                                     (Declaratory Judgment)
 3              22.   Plaintiff hereby incorporates, as though set forth in full herein, all
 4 preceding and subsequent paragraphs of the Complaint.
 5              23.   An actual controversy has arisen and now exists between D.A.R.E. and
 6 LSE concerning their respective rights and duties as to the Intellectual Property and
 7 the License.
 8              24.   D.A.R.E. contends that the License has terminated and, therefore, LSE
 9 has no further right to use any of the Intellectual Property. D.A.R.E. is informed
10 and believes and therefore alleges that LSE disputes this contention.
11              25.   D.A.R.E. requests a declaration and judicial determination of the rights
12 and obligations of the parties to this action with respect to the Intellectual Property
13 and the License.
14              26.   A judicial determination is necessary, appropriate, and desirable so that
15 each of the parties may ascertain their respective rights as to one another, the
16 License, and the Intellectual Property; and D.A.R.E. can protect and preserve its
17 Intellectual Property.
18                                     PRAYER FOR RELIEF
19              WHEREFORE, D.A.R.E. prays for judgment as follows:
20              1.    For a declaratory judgment that the License has terminated and,
21 therefore, LSE has no further right to use any of the Intellectual Property;
22              2.    That D.A.R.E. be awarded its costs of suit herein; and
23              3.    For such other and further relief as the Court may deem proper and just.
24 DATED: February 23, 2021                   MILLER BARONDESS, LLP
25
26                                            By:
27                                                   AMNON Z. SIEGEL
                                                     Attorneys for Plaintiff D.A.R.E. America
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 1                                 DEMAND FOR JURY TRIAL
 2              Plaintiff D.A.R.E. America demands a trial by jury.
 3
 4 DATED: February 23, 2021                  MILLER BARONDESS, LLP
 5
 6                                           By:
 7                                                 AMNON Z. SIEGEL
                                                   Attorneys for Plaintiff D.A.R.E. America
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